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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF FLORIDA
                                            Tallahassee Division


              JANE DOE, individually and on behalf
              of her minor daughter, SUSAN DOE,
              et al.,
                                                                Case No. 4:23-cv-00114-RH-MAF
                                       Plaintiffs,
                                v.

              JOSEPH A. LADAPO, M.D., in his
              official capacity as Florida’s Surgeon
              General of the Florida Department of
              Health, et al.,

                                       Defendants.


                           DECLARATION OF KAI POPE IN SUPPORT OF 
                       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                     I, Kai Pope, hereby declare and state as follows:

                     1.      I am over the age of 18, of sound mind, and in all respects competent

             to testify. I have personal knowledge of the information contained in this Declaration

             and would testify completely to those facts if called to do so.

                     2.      I am 51 years old, and I am a plaintiff in this Action.

                     3.      I am a Florida resident. I live in Palm Harbor, Florida. I am a physician

             with Hospice. I have been a Hospice physician for the past 20 years, and have been

             practicing in Florida for the past 11 years.




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                     4.      I am a man and I am also transgender. Although I was incorrectly

             assigned the sex female at birth, my gender identity is male. I experience and have

             been diagnosed with gender dysphoria due to the significant distress caused by the

             disconnect between my sex assigned at birth and my gender identity.

                     5.      I have legally changed my name and my gender marker on my

             government-issued identification documents, and am legally recognized as male by

             the state and federal government.

                     6.      I have been prescribed testosterone, which has allowed me to bring my

             body into alignment with my male gender identity. I receive my medical care from

             Dr. Miranda Giusti, D.O., who has a private practice in the Tampa area. I have seen

             Dr. Giusti for many years.

                     7.      I underwent top surgery (a bilateral mastectomy) in December of 2021,

             which further helped to bring my body into alignment with my gender identity. I

             have experienced a tremendous improvement in quality of life due to being on

             testosterone and having top surgery.

                     8.      In preparation for a phalloplasty, I obtained a hysterectomy in March

             of 2023.

                     9.      I feel very privileged that I have had access to the medical care that I

             need and have not had the same obstacles and barriers to accessing transition-related

             healthcare that many transgender Floridians experience. Being a physician has



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             afforded me greater knowledge of, and access to, the healthcare system, and that has

             allowed me to navigate my transition pretty seamlessly. That all changed, however,

             on Thursday, July 13th during a phone call in which my surgeon informed me that

             due to SB 254, my phalloplasty surgery was cancelled.

                     10.     It took over a year to schedule the phalloplasty, but I finally had my

             surgery scheduled for September 14th, 2023 at the University of Miami. The surgery

             has been deemed medically necessary for the treatment of my gender dysphoria, I

             meet the criteria under the WPATH standards of care, and I provided two letters

             attesting to my readiness for surgery from my mental health providers. I have already

             scheduled to take time off work, made arrangements for support and caretaking after

             my surgery, obtained the prerequisite care, including a hysterectomy, and received

             prior authorization from my health insurance provider for the surgery.

                     11.     When I received the phone call from my surgeon informing me that my

             surgery had been cancelled due to SB 254, I felt completely blindsided. First, I felt

             confused, and then the confusion was replaced by devastation, as it had taken so

             much time and effort to get to this point, and I am less than two months out from my

             scheduled procedure. Without that surgery, I will continue to experience medical

             injury from my gender dysphoria and cannot receive the full treatment prescribed

             for me.




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                     12.     Each day since the phone call, I wake up feeling like this is a nightmare.

             I have been prescribed treatment that my physician, my surgeon, and my mental

             health provider have all deemed medically necessary for me, the surgeon stands

             ready to provide it, and I cannot receive it exclusively because of barriers created by

             state law. It is frustrating and alarming to me that the government is dictating who

             can and cannot receive essential medical care.

                     13.     As a physician, I am well versed in the practice of medicine, the

             regulation of the medical profession, the adherence by medical providers to the

             authoritative Standards of Care for the treatment of conditions, and the informed

             consent model. The restrictions put in place by the state have no legitimate or rational

             purpose. They cause harm to me and other transgender people like me.

                     I declare under penalty of perjury that the foregoing is true and correct. 

             Executed this 24th day of July, 2023.                                  

                                                               Respectfully Submitted,

                                                                                               

                                                               Kai Pope




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